Case 09-35048-hcd Doc3_ Filed 10/23/09 Page 1 of 18

BGA (Official Form GA) (12/07)

In re Charles David Hoefer Case No.
Debtor

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as 2
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

Current Value of

Husband :
a? Debtor's Interest in
was ; Nature of Debtor's Wife, Amount of
Description and Location of Property Interest in Property Joint,or py edhucting any Seoured Secured Claim

Community “Claim or Exemption
715 N, Shore Drive J 450,000.00 140,000.00
Syracuse, IN 46540
814 Spring Meadow Farm Dr. J 350,000.00 0.00
Middlebury, IN 46540
Coppercorn Realty, LLC H 61,751.00 $02,487.00

Sub-Total > 861,751.00 (Total of this page}
Total > 861,751.00
0 continuation sheets attached to the Schedule of Real Property (Report also on Summary of Schedules)

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Case 09-35048-hcd Doc3_ Filed 10/23/09 Page 2 of 18

B6B (Official Form 6B) (12/07)

In re Charies David Hoefer Case No.

Debtor

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P, 1007(m).

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any.
Community Secured Claim or Exemption

Type of Property Description and Location of Property

mao zw

x

{. Cash on hand

2. Checking, savings or other financial Checking Account - First Source Bank J 167.00
accounts, certificates of deposit, or
shares in banks, savings and loan,
thrift, building and loan, and
homestead associations, or credit
unions, brokerage houses, or
cooperatives.

3. Security deposits with public x
utilities, telephone companies,
landlords, and others.

4. Household goods and furnishings, Misc. furniture 814 Spring Meadow Farm Dr., J 2,750.00
including audio, video, and Elkhart, IN 46540
computer equipment.

5. Books, pictures and other art x
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.

6. Wearing apparel. Clothing 814 Spring Meadow Farm Dr., Elkhart, IN H 600.00
46540

Misc. jewelry, 814 Spring Meadow Farm Dr., Elkhart, H 3,000.00
IN 46540

7. Furs and jewelry. xX

8. Firearms and sports, photographic, Xx
. and other hobby equipment.

9, Interests in insurance policies. xX
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name cach xX
issuer.

Sub-Total > 6,517.00
(Total of this page)

3 ___ continuation sheets attached to the Schedule of Personal Property

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Case 09-35048-hcd Doc3 Filed 10/23/09 Page 3 of 18

B6B (Official Form 6B) (12/07) - Coat,

In re Charles David Hoefer

Case No.

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

Type of Property

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any,

Community Secured Claim or Exemption

Description and Location of Property

11,

12.

13.

14,

15.

16,
17.

18,

19,

20.

21,

Interests in an education IRA as
defined in 26 U.S.C. § 530(b){i) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the
record(s) of any such interest(s).

11 U.S.C. § 521fc).)

Interests in IRA, ERISA, Keogh, or
other pension or profit sharing
plans. Give particulars.

Stock and interests in incorporated
and unincorporated businesses.
Itemize.

Interests in partnerships or joint
ventures, [temize.

Government and corporate bonds
and other negotiable and
nonnegotiable instruments,

Accounts receivable.

Alimony, maintenance, support, and
property settlements to which the
debtor is or may be entitled. Give
particulars.

Other liquidated debts owed to debtor
including tax refunds. Give particulars.

Equitable or future interests, life
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

Contingent and noncontingent
interests in estate of a decedent,

death benefit plan, life insurance

policy, or trust.

Other contingent and unliquidated
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims.
Give estimated value of each.

xP mzZoz

Elkhart Community Bank H 2,500.00
Spring Meadow Golf Club H 0.00

X

Sub-Total > 2,500.00
(Total of this page)

Sheet _t of _3 _ continuation sheets attached

to the Schedule of Personal Property

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Case 09-35048-hcd Doc3_ Filed 10/23/09 Page 4 of 18

B6B (Official Form 6B) (12/07)

In re Charles David Hoefer Case No.

Debtor

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or “C" in the column labeled "Husband, Wife, Joint, or Community," if the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any

Community Secured Claim or Exemption

Type of Property Description and Location of Property

mzoOZ

»

1. Cash on hand

2. Checking, savings or other financial Checking Account - First Source Bank J 167.00
accounts, certificates of deposit, or
shares in banks, savings and loan,
thrift, building and loan, and
homestead associations, or credit
unions, brokerage houses, or
cooperatives.

3. Security deposits with public x
utilities, telephone companies,
jandlords, and others.

4. Household goods and furnishings, Misc. furniture 814 Spring Meadow Farm Dr., J 2,750.00
including audio, video, and Elkhart, IN 46540
computer equipment.

5. Books, pictures and other art x
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.

6. Wearing apparel. Clothing 814 Spring Meadow Farm Dr., Elkhart, IN H 600.00
46540

Misc. jewelry, 814 Spring Meadow Farm Dr., Elkhart, H 3,000.00
IN 46540

7. Furs and jewelry. x

8. Firearms and sports, photographic, x
and other hobby equipment.

9. Interests in insurance policies. x
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name each X
issuer.

Sub-Total > 6,517.00
(Total of this page)

3___ continuation sheets attached to the Schedule of Personal Property

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Case 09-35048-hcd Doc3_ Filed 10/23/09 Page 5 of 18

B6B (Official Form 6B) (12/07) - Cont.

In re Charles David Hoefer

Case No.

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

Type of Property

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any_
Community Secured Claim or Exemption

Description and Location of Property

11, Interests in an education IRA as
defined in 26 U.S.C. § 530(b}{1) or
under a qualified State tuition plan

as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the

record(s) of any such interest(s).
11 U.S.C. § 521(c).}

12. Interests in IRA, ERISA, Keogh, or
other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorporated
and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint
ventures. Itemize.

15. Government and corporate bonds
and other negotiable and
nonnegotiable instruments.

16. Accounts receivable.

17. Alimony, maintenance, support, and

property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to debtor

x | mMZOZ

Elkhart Community Bank H 2,500.00
Spring Meadow Golf Club H 0.00

including tax refunds, Give particulars.

19, Equitable or future interests, life
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

20. Contingent and noncontingent
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

21. Other contingent and unliquidated
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims.
Give estimated value of each.

Sub-Total > 2,500.00
(Total of this page)

Sheet 1 of _3 __ continuation sheets attached

to the Schedule of Personal Property

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Case 09-35048-hcd Doc3_ Filed 10/23/09 Page 6 of 18

B6B (Official Form 6B) (12/07) - Cont.

Inre Charles David Hoefer Case No.

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

N Husband, Current Value of
Type of Property 8 Description and Location of Property Nome or peo thout Dedueting any
E Community Secured Claim or Exemption
22. Patents, copyrights, and other X
intellectual property. Give
particulars.
23, Licenses, franchises, and other x
general intangibles, Give
particulars.

24, Customer lists or other compilations  X
containing personally identifiable
information (as defined in 11 U.S.C.

§ 101(41A)) provided to the debtor
by individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes,

25. Automobiles, trucks, trailers, and 1934 Ford, Middlebury, IN J 10,000.00
other vehicles and accessories.
1993 Corvette, Middlebury, IN J 12,000.00
1995 CAD Escalade, Middlebury, IN J 6,175.00
1995 $10 Blazer, Middlebury, IN J 625.00
1934 Ford, Middlebury, IN J 10,000.06
26. Beats, motors, and accessories. 2-2001 Jetskis, Syracuse, IN J 500.00
2005 Correct Craft, Syracuse, IN J 7,500.00
27. Aircraft and accessories. x
28. Office equipment, furnishings, and x
supplies,
29. Machinery, fixtures, equipment, and X
supplies used in business.
30. Inventory. x
31. Animals.
32. Crops - growing or harvested. Give X
particulars.
33. Farming equipment and xX
implements.
Sub-Total > 46,800.00
(Total of this page)

Sheet 2 of _3 __ continuation sheets attached

to the Schedule of Personal Property

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Case 09-35048-hcd Doc3_ Filed 10/23/09 Page 7 of 18

B6B (Official Form 6B) (12/07) - Cont.

In re Charles David Hoefer Case No.

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

Husband, Current Value of
Type of Property Description and Location of Property wit pe oithout Deducting ey”

Community Secured Claim or Exemption

MP HZOz

35. Other personal property of any kind
not already listed. Itemize.

Sub-Total > 0.00
(Total of this page)
Total > §2,317.00
Sheet 3 of _3___ continuation sheets attached
to the Schedule of Personal Property (Report also on Summary of Schedules)

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B6C (Official Form 6C) (12/07)

In re Charles David Hoefer Case No.

Case 09-35048-hcd Doc3_ Filed 10/23/09 Page 8 of 18

Debtor claims the exemptions to which debtor is entitled under:

Debtor

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

@ Check if debtor claims a homestead exemption that exceeds

(Check one box) $136,875.

O1 11 U.S.C. §522(b)(2)

i 11 U.S.C. §522(b)(3)

: wa . Value of Current Value of
+a Specify Law Providing : :
Description of Prope P . Claimed Property Without
P erty Each Exemption Exemption Deducting Exemption
Real Property
715 N. Shore Drive Ind. Code § 34-85-10-2(c)(5) 310,000.00 450,000.00
Syracuse, IN 46540
§14 Spring Meadow Farm Dr. Ind. Code § 34-55-10-2(c}(5) 350,000.00 350,000.00
Middlebury, IN 46540
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking Account - First Source Bank Ind. Code § 34-55-10-2(c){3) 167.00 167.00
Household Goods and Furnishings
Misc. furniture 814 Spring Meadow Farm Dr., Ind. Code § 34-55-10-2(c)(2) 2,750.00 2,750.00
Elkhart, IN 46540
Wearing Apparel
Clothing 814 Spring Meadow Farm Dr., Elkhart, Ind. Code § 34-55-10-2(c)(2) 600.00 600.00
IN 46540
Misc. jewelry, 814 Spring Meadow Farm Dr., Ind. Code § 34-55-10-2(c)(2) 3,000.00 3,000.00
Elkhart, IN 46540
Automobiles, Trucks, Trailers, and Other Vehicles
1995 CAD Escalade, Middlebury, IN Ind. Code § 34-55-10-2(c)(2) 1,650.00 12,350.00
Total: 668,167.00 818,867.00

0 continuation sheets attached to Schedule of Property Claimed as Exempt

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Bast Case Bankruptcy
Case 09-35048-hcd Doc3 Filed 10/23/09 Page 9 of 18

B6D (Official Form 6D) (12/07)

In re

Charles David Hoefer

Debtor

Case No.

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and

other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
guardian, such as “A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured

creditors will not fit on this page, use the continuation sheet provided.
If any entity other than a spouse in a joint case may be jointly liable on a cla

lace an "X" in the column labeled "Codebtor' ,include the entity on the appropriate

schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H”, "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
Ifthe claim is contingent, place an "X" in the column labeled "Contingent". Ifthe claim is unliquidated, place an "X" in the column labeled "Untiquidated". If the
claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
Total the columns labeled "Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled "Total(s)" on the last
sheet of the completed schedule. Report the total from the column labeled “Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
L]_ Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

C | Husband, Wife, Joint, or Community cy) uyo AMOUNT OF
1 AME Oo Or; NII
AND MAILING ADDRESS O]H DATE CLAIM WAS INCURRED, NIL} Ss wrneor UNSECURED
INCLUDING ZIP CODE, B |W NATURE OF LIEN, AND '}@]ul — DEDUCTING PORTION, IF
AND ACCOUNT NUMBER Th DESCRIPTION AND VALUE NUIT] © VALUE OF ANY
(See instructions above.} Ryo sunteee PERT YN Eyoyo COLLATERAL
Account No. 23-230079-660 57600 S.R. 13 South, Middlebury, IN "VE
46540 Property owned by Spring D
P.O. Box 660576
Dallas, TX 75266-0576
Value $ 1,440,935.00 1,440,935,00 0.00
Account No. 715 N. Shore Drive
Syracuse, IN 46540
Fifth Third Bank
P.O Box 630778
Cincinnati, OH 45263-0778
Value $ 450,000.00 140,000.00 0.00
Account No. Personal guarantee on US 20 Pilgrim
property
Fifth Third Bank
P.O. Box 630778
Cincinnati, OH 45263-0778 H
Value $ Unknown 175,000.00 Unknown
Account No. Coppercorn Realty, LLC
Lake City Bank
P.O, Box 3000
Elkhart, IN 46515 .
Value $ 308,755.00 902,487.00 §93,732,00
Subtotal
1 + . a .
continuation sheets attached (Total of this page) 2,658,422.00 593,732.00
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Case 09-35048-hcd Doc3_ Filed 10/23/09 Page 10 of 18

B6D (Official Form 6D) (12/07) - Cont.

In re Charlies David Hoefer Case No.
Debtor
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet)
C | Husband, Wife, Joint, or Community ¢]uyo AMOUNT OF
CREDITOR'S NAME 0 O}N|I CLAIM
AND MAILING ADDRESS Bln oe TRE OF NEN AR? OTETET 8) wirtiour UNSECURED
INCLUDING ZIP CODE, ayy DESCRIPTION AND VALUE L1@]%)  DEDUCTING | — PORTION, IF
AND ACCOUNT NUMBER ole OF PROPERTY 6lile VALUE OF ANY
(See instructions.) R SUBJECT TO LIEN Byoyo COLLATERAL
Account No. HNHB personal guarantee T E
o
Lake City Bank
202 E. Center Street
P.O, Box 1389 H
Warsaw, IN 46581
Value $ Unknown 600,000.00 Unknown
Account No.
Value $
Account No.
Value $
Account Ne.
Value $
Account No.
Value $
Sheet 7 of 1 continuation sheets attached to Subtotal 600,000.00 0.00
Schedule of Creditors Holding Secured Claims (Total of this page)
Total 3,258,422.00 593,732.00
(Report on Summary of Schedules)
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Case 09-35048-hcd Doc3_ Filed 10/23/09 Page 11 of 18

B6E (Official Form 6E) (12/07)

In re Charles David Hoefer Case No.
Debtor

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided, Only holders of unsecured claims entitled
to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian.”
Do not disclose the child's name. See, 12 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled “Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
column labeled "Contingent.” If the claim is unliquidated, place an "X" in the column labeled “Unliquidated." [f the claim is disputed, place an "X" in the column labeled
“Disputed.” (You may need to place an “X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
"Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotais" on cach sheet. Report the total of all amounts entitled to priority
listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet, Report the total of all amounts not entitled to
priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
total also on the Statistical Summary of Certain Liabilities and Related Data.

WM Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

C) Domestic support obiigations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507{a)(1).

O Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
trustee or the order for relief. 11 U.S.C. § 507(a)(3).

0 Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

O Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
O Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a}(6).

OC Deposits by individuals

Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
delivered or provided, 11 U.S.C. § 507(a)(7).

CO} Taxes and certain other debts owed to governmental units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

O Commitments to maintain the capital of an insured depository institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

OJ Claims for death or personal injury while debtor was intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

0 continuation sheets attached

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Case 09-35048-hcd Doc3_ Filed 10/23/09 Page 12 of 18

B6F (Official Form 6F) (12/07)

In re Charles David Hoefer Case No.

Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

Hf any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X” in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. [fa joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled “Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X° in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the tota! of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule, Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Os Cheek this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

CREDITOR'S N. AME, g Husband, Wife, Joint, or Community & u P
INCLUDING ZIP CODE, 5|in] coRABE CLAIM was mucuRRED AND {FTES
AS ACCOUNT NUMBER aft IS SUBJECT TO SETOFF, SO STATE. w/U|T| AMOUNT OF CLAIM
ee instructions above.) R € 9 D
Account No. 6/9/2009 T t
Judgment on Personal Guarantee D
Lake City Bank
c/o Patrick G. Murphy H
215 East Berry Street
P.O, Box 2263
Fort Wayne, IN 46801 2,000,000.00
Account No.
Account No.
Account No.
oo Subtotal
Q _ continuation sheets attached (Total of this page) 2,000,000.00
Total
(Report on Summary of Schedules) 2,000,000.00

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B6G (Official Form 6G) (12/07)

In re Charles David Hoefer Case No.

Debtor

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
of debtor's interest in contract, i.ec., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
complete mailing addresses of all other parties to each lease or contract described. Ifa minor child is a party to one of the leases or contracts,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

Wi Check this box if debtor has no executory contracts or unexpired leases.

d Mailine Add Including Zip Cod Description of Contract or Lease and Nature of Debtor's Interest.
Name and Mailing Address, Including Zip Code, tate whether lease is for nonresidential real property.
of Other Parties to Lease or Contract State contract number of any government contract.

0
continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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B6H (Official Form 6H) (12/07)

In re Charles David Hoefer Case No,

Debtor

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the cormmunity property state, commonwealth, or territory. Include all names used
by the nondebtor spouse during the eight years immediately preceding the commencement of this case. Ifa minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr, P. 1007(m).
O Check this box if debtor has no codebtors.

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR
Mary Hoefer Fifth Third Bank

814 Spring Meadow Farm Drive P.O Box 630778

Middlebury, IN 46540 Cincinnati, OH 45263-0778

0
continuation sheets attached to Schedule of Codebtors

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B6l (Official Form 61) (12/07)

Inte _Charles David Hoefer

Debtor(s)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

Case No.

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is

filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income

calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

Debtor's Marital Status: DEPENDENTS OF DEBTOR AND SPOUSE
RELATIONSHIP(S): AGE(S):

Married Daughter 20
Employment: DEBTOR SPOUSE
Occupation
Name of Employer Spring Meadow Farm Golf
How long employed
Address of Employer 57600 §.R. 13 South

Middlebury, IN 46540

INCOME: (Estimate of average or projected monthly income at time case filed)
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)
2. Estimate monthly overtime

3. SUBTOTAL

4. LESS PAYROLL DEDUCTIONS
a. Payroll taxes and social security
b. Insurance
c. Union dues
d. Other (Specify):

5. SUBTOTAL OF PAYROLL DEDUCTIONS

6. TOTAL NET MONTHLY TARE HOME PAY

7. Regular income from operation of business or profession or farm (Attach detailed statement}

8. Income from real property
9, Interest and dividends

10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of

dependents listed above
11, Social security or government assistance
(Specify): Retirement Social Secuirty/SSl

12. Pension or retirement income
13. Other monthly income

(Specify):

14. SUBTOTAL OF LINES 7 THROUGH 13
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)

16, COMBINED AVERAGE MONTHLY [NCOME: (Combine column totals from line £5)
(Report also on Summary of Schedules and, if applicable, on
Statistical Summary of Certain Liabilities and Related Data)

DEBTOR SPOUSE
$ 377.00 $ N/A
$ 0.00 $ NIA

| $ 377.00 $ Ni/A|
$ 0.00 $ NIA
$ 0.00 $ NIA
$ 0.00 $ NIA
$ 0.00 $ NIA
$ 0.00 $ NiA
$ 0.00 $ NiA
$ 377.00 $ NIA
$ 0.00 $ NIA
$ 0.00 $ NIA
$ 0.00 $ NIA
$ 0.00 $ NIA
$ 2,109.00 $ NIA
$ 0.00 $ NIA
$ 0.00 $ NIA
$ 0.00 $ NIA
$ 0.00 $ NIA
$ 2,109.00 $ NIA!
$ 2,486.00 $ NIA

$ 2,486.00

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 63) (12/07)

Inre _Charles David Hoefer Case No.

Debtor(s)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

O Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."

1. Rent or home mortgage payment (include lot rented for mobile home) $ 3,774.00
a. Are real estate taxes included? Yes No_X_
b. Is property insurance included? Yes No_X_
2. Utilities: a. Electricity and heating fuel $ 460.00
b. Water and sewer $ 120.00
c. Telephone $ 132.00
d. Other See Detailed Expense Attachment $ 749.00
3. Home maintenance (repairs and upkeep) $ 200.00
4. Food $ 593.34
5. Clothing $ 75.00
6. Laundry and dry cleaning $ 0.00
7. Medical and dental expenses $ 77.00
8. Transportation (not including car payments) $ 1,216.67
9. Recreation, clubs and entertainment, newspapers, magazines, etc. $ 100.00
10. Charitable contributions $ 400.00
11. Insurance (not deducted from wages or included in home mortgage payments)
a. Homeowner's or renter's $ 191.67
b. Life $ 0.00
c. Health $ 133.00
d. Auto $ 92.00
e. Other $ 0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
(Specify} _Real Estate $ 458.33
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
a, Auto $ 0.00
b, Other $ 0.00
c. Other $ 0.00
14, Alimony, maintenance, and support paid to others $ 0.00
15, Payments for support of additional dependents not living at your home $ 0.00
16, Regular expenses from operation of business, profession, or farm (attach detailed statement) $ 0.00
17. Other See Detailed Expense Attachment $ 1,287.92
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, | $ 10,059.93
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19, Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I $ 2,486.00
b. Average monthly expenses from Line 18 above $ 10,059.93
c. Monthly net income (a. minus b.} $ -7,573.93

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B6J (Official Form 6J) (12/07)
Inre _Chartes David Hoefer Case No.

Debtor(s}

SCHEDULE J-C DITURES OF INDIVIDUAL DEBT
Detailed Expense Attachment

Other Utility Expenditures:

Cable and Dish Satellite Service $ 147.00
Gas/LP $ 400.00
Cell Phone $ 202.00
Total Other Utility Expenditures $ 749.00
Other Expenditures:
College Tuition $ 1,056.25
Book Fees $ 50.00
Plates/Tags $ 75.00
Gifts $ 66.67
Hair/Beauty $ 40.00
Total Other Expenditures $ 1,287.92

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B6 Declaration (Official Form 6 - Declaration). (12/07)

United States Bankruptcy Court
Northern District of Indiana

Inre _Charles David Hoefer Case No,

Debtor(s) Chapter 7

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I deciare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
17___ sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date JO L28 / OF Signature
7 / "

Charifes David Hoefer
Debtor

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

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